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   6
   7                       UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

   9
  10 KEVIN COX,                                     Case No.: 2:21-cv-02135 MCS (AGRx)

  11                Plaintiff,                      NOTICE OF SETTLEMENT OF
  12                                                ENTIRE CASE
             vs.
  13
  14 EL PAISSA MEXICAN GRILL, INC.;
     VICTOR RODRIGUEZ; and DOES 1
  15 to 10,
  16
                    Defendants.
  17
  18
  19         Notice is hereby given that Plaintiff KEVIN COX ("Plaintiff") and
  20 Defendants have settled the above-captioned matter as to the entire case. Parties
  21 requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
  22 to file dispositional documents in order to afford Parties time to complete settlement.
  23
       DATED: March 25, 2021                        SO. CAL EQUAL ACCESS GROUP
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  26                                                      /s/ Jason J. Kim
                                                    JASON J. KIM
  27                                                Attorney for Plaintiff
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                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
